

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,498






EX PARTE MARK EDWARD BERRY, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. F-0535247-LQ IN THE 204TH DISTRICT COURT


FROM DALLAS COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of indecency with
a child and sentenced to life imprisonment. 

	Applicant contends that his counsel rendered ineffective assistance because he failed to
timely file a notice of appeal. 

	The trial court has determined that trial counsel was ineffective for failing to timely file a
notice of appeal.  We agree.  We find, therefore, that Applicant is entitled to the opportunity to file
an out-of-time appeal of the judgment of conviction in Cause No. F-0535247-LQ from the 204th
Judicial District Court of Dallas County.  Applicant is ordered returned to that time at which he may
give a written notice of appeal so that he may then, with the aid of counsel, obtain a meaningful
appeal.  All time limits shall be calculated as if the sentence had been imposed on the date on which
the mandate of this Court issues.  We hold that, should Applicant desire to prosecute an appeal, he
must take affirmative steps to file a written notice of appeal in the trial court within 30 days after the
mandate of this Court issues.


Delivered: February 9, 2011

Do Not Publish


